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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   RICHARD CAMPFIELD, et al.,

                  Plaintiffs,                           Case No. 2:15-cv-2733

          v.                                            Judge: Michael H. Watson
   SAFELITE GROUP, INC., et al.,                        Magistrate: Chelsey M. Vascura
                  Defendants.


                 DEFENDANTS’ MOTION TO EXCLUDE TESTIMONY OF
                       PLAINTIFFS’ EXPERT RENE BEFURT
                    PURSUANT TO FED. R. EVID. 401, 403, AND 702

         Defendants Safelite Group, Inc., Safelite Solutions LLC, and Safelite Fulfillment, Inc.

  (collectively, “Safelite” or “Defendants”) hereby move, pursuant to Federal Rules of Evidence

  401, 403, and 702, as well as Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

  (1993), and other applicable cases, to exclude the expert opinions and testimony of Dr. Rene

  Befurt, Plaintiffs’ proffered marketing and survey expert. As set forth in the attached

  Memorandum in Support, in reaching his opinions about Safelite’s marketing and its effects on

  consumers, Dr. Befurt relied heavily on statements that this Court has already held are not

  actionable against Safelite under the Lanham Act—statements allegedly made in Safelite’s role

  as a third-party claims administrator, including ones allegedly “ghostwritten” by Safelite for

  third-party insurance clients. This Court has twice held that such statements are not actionable

  against Safelite and dismissed them from the case.

         Dr. Befurt’s testimony should be excluded because its extensive reliance on non-

  actionable statements will confuse and mislead the finder of fact and unfairly prejudice Safelite

  by attributing third-party statements to Safelite and serving as a “back door” through which
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  Plaintiffs will attempt to continue litigating their twice-rejected legal theories. Fed. R. Evid. R.

  403, 702. Dr. Befurt’s opinions are also irrelevant and fail to “fit” the remaining issues in this

  case because the opinions are all based on the flawed assumption that the third-party, excluded

  statements are attributable to Safelite. They are not, and, thus, Dr. Befurt’s opinions will not

  “help the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid.

  401, 702(a).

         Accordingly, all of Dr. Befurt’s opinions and testimony must be excluded. Safelite thus

  moves for an order excluding Dr. Befurt’s expert opinions and testimony in their entirety.




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                                  MEMORANDUM IN SUPPORT

  I.     INTRODUCTION

         In two separate opinions, this Court has rejected Plaintiffs Richard Campfield’s and Ultra

  Bond, Inc.’s (collectively, “Plaintiffs”) attempts to hold Safelite liable for statements made in its

  role as a third-party claims administrator. The Court has made clear that such third-party

  statements—including ones allegedly “ghostwritten” by Safelite for third-party insurance clients

  (collectively, the “excluded statements”)—are not actionable under the Lanham Act and have

  been dismissed from the case.

         Plaintiffs’ proffered marketing and survey expert, Dr. Rene Befurt, relied extensively on

  these excluded statements to support all of his expert opinions. Indeed, Dr. Befurt used excluded

  statements in two of the three market surveys he conducted, the results of which informed most

  of his expert opinions. His remaining opinions, which did not rely on the surveys, nevertheless

  heavily relied on excluded statements. At the heart of Dr. Befurt’s expert analysis and resultant

  opinions rests an assumption that this Court has twice rejected as a matter of law: that the

  excluded statements are attributable to Safelite for the purposes of Plaintiffs’ Lanham Act claim.

         Because of his flawed assumption and extensive reliance on excluded statements, any

  probative value that Dr. Befurt’s expert opinions may have is outweighed by the likelihood those

  opinions will mislead and/or confuse the trier of fact and unfairly prejudice Safelite. Fed. R.

  Evid. 403, 702. Furthermore, Dr. Befurt’s opinions do not “fit” the issues in this case and will

  not “help the trier of fact to understand the evidence or to determine a fact in issue,” because

  they are not based on statements that are at issue here. Fed. R. Evid. 401, 702(a). Consistent

  with Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), subsequent cases, and

  the Federal Rules of Evidence, Dr. Befurt’s expert opinions must be excluded.




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  II.    PROCEDURAL BACKGROUND

         Plaintiffs’ original Complaint focused on Safelite’s role as a third-party administrator

  (“TPA”). See generally Doc. No. 1, Complaint; see id. ¶ 2 (alleging, for example, that

  “Safelite’s role as the nation’s largest TPA gives it unique access to and control over customers

  of [vehicle glass repair and replacement] services”). Plaintiffs made only passing reference to

  statements Safelite allegedly made directly to consumers via its website. See id. ¶¶ 117–22.

  Plaintiffs’ original focus on Safelite’s role as a TPA was not surprising given that their claims in

  this case were essentially a repackaging of failed claims they filed against State Farm Mutual

  Automobile Insurance Company over a decade ago. See Campfield v. State Farm Mut. Auto. Ins.

  Co., 532 F.3d 1111 (10th Cir. 2008) (affirming dismissal of all claims).

         The Court granted Safelite’s motion to dismiss Plaintiffs’ original Complaint with respect

  to statements Safelite made in its role as a TPA, holding that such statements “do not qualify as

  commercial advertising or promotion.” Doc. No. 36, Opinion & Order at 13. The Court

  permitted the case to proceed to discovery with respect to Safelite’s alleged statements made

  directly to consumers on its website. See id. at 13–14, 16.

         Notwithstanding the Court’s Order, Plaintiffs proceeded to conduct extensive discovery

  related to Safelite’s role as a TPA. Then, more than two years after they originally filed suit,

  Plaintiffs filed an Amended Complaint attempting to reintroduce and expand on everything the

  Court dismissed. See generally Doc. No. 60, Amend Complaint (“AC”). Plaintiffs once again

  alleged that Safelite falsely advertised in its role as an insurance TPA. See Doc. No. 63,

  Defendants’ Motion to Dismiss (“Mot. to Dismiss”) at 4–5 (discussing Amended Complaint

  allegations related to Safelite’s role as a TPA). Plaintiffs added on allegations that Safelite

  falsely advertised when it “ghostwrote” materials used by third-party insurers. See AC ¶¶ 17,

  106–13.)



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         Yet again, Safelite moved to dismiss Plaintiffs’ claims related to statements Safelite

  allegedly made or wrote on behalf of third-party insurance companies. See generally Doc. No.

  63, Defs.’ Mot to Dismiss. And, yet again, this Court held that such statements are not

  actionable under the Lanham Act. Doc. No. 113, Opinion & Order (“Order”) at 7–9, 11, 19.

  The Court found that (1) Safelite’s “statements to policyholders in its role as a claims

  administrator are not commercial advertising or promotion under the Lanham Act,” id. at 7; (2) it

  could not “reasonably infer that statements made in insurance company brochures and bulletins,

  even if drafted by Safelite, are actionable against Safelite under the Lanham Act,” id. at 9; and

  (3) “statements regarding the dollar bill rule that Safelite Solutions made in its role as third-party

  claims administrator and statements that Safelite allegedly ghostwrote for insurance companies

  are not commercial advertising or promotion actionable against Safelite under the Lanham Act.”

  Id. at 11. Accordingly, the Court once again dismissed Plaintiffs’ claims based on these

  excluded statements. Id. at 19.

         While Safelite’s second Motion to Dismiss was still pending, Plaintiffs served the expert

  report of Rene Befurt, Ph.D, dated June 11, 2018 (“Befurt Report” or “Report”), Doc. 133-1.

  The Report examines “the role of the dollar bill rule in Safelite’s marketing and promotional

  activities” and “assess[es] whether and to what extent these messages influence consumer

  behavior as it relates to the repair or replace[ment] of a cracked windshield.” See id. ¶ 5.

         Dr. Befurt designed and conducted consumer surveys using three different sets of

  “promotional materials” that were identified by Plaintiffs’ counsel. Id. ¶ 9. Dr. Befurt described

  the goals of his surveys as two-fold: (1) to assess “how respondents exposed to examples of

  Safelite’s allegedly false statements interpret them”; and (2) to assess “whether, and to what

  extent, the examples of Safelite’s allegedly false and misleading messages influence consumers’




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  decisions as to whether to repair a windshield with a ten-inch crack” (as opposed to a six-inch

  crack). Id. (emphasis modified). Critically, two of the three consumer surveys Dr, Befurt

  conducted examined materials that included only third-parties, excluded statements taken from

  documents without Safelite branding or attribution. Befurt’s first survey tested a flyer from

  Farmers Insurance Group. See id. ¶ 61.a (Stimuli Pair 1, entitled “Repair your windshield in

  about 30 minutes”). His third survey tested another flyer from Farm Bureau Insurance. Id.

  ¶ 61.c (Stimuli Pair 3, entitled “Handling vehicle glass damage”). Of Befurt’s three surveys,

  only one tested a document with Safelite branding. Id. ¶ 61.b (Stimuli Pair 2, entitled

  “Improving your view: ‘How to Perform a Proper Repair’”).1

         Based on the combined results of all three surveys, Dr. Befurt then formed several

  opinions about how consumers allegedly interpret Safelite’s messaging. His opinions include:

             1) “Safelite’s tested promotional materials convey to a substantial number of
                consumers that [cracks] larger than six inches are not repairable.” Id. ¶ 9.

             2) “[W]hen faced with a purchase-like scenario, respondents who were exposed to
                the promotional materials containing allegedly false statements of the type
                identified by Plaintiffs were much less likely to repair (as opposed to replace) a
                ten-inch crack compared to respondents who were exposed to amended
                promotional materials, without the allegedly false and misleading messages.” Id.

             3) “Safelite’s promotional materials communicate a rule, rather than a Safelite
                policy.” Id. ¶ 10.

             4) “The allegedly false messages have a causal impact on consumer behavior that is
                not tied to purchasing from Safelite or the promoting firm.” Id.



  1
    This document, referred to in Dr. Befurt’s Report as “Stimulus 2,” is discussed in Safelite’s
  Motion for Summary Judgment. See Doc. No. 127 at Section V.A.3.b.i-ii & Doc. No. 127-4
  Appendix A (Statement 1). As discussed there, even this document was not a statement aimed at
  consumers. Instead, it was a statement made to insurer business customer, AAA, in the context
  of Safelite’s contractual relationship with this client. Id. As such, this statement also is not
  actionable against Safelite. Thus, Dr. Befurt failed to test any actionable statement made to the
  relevant market at issue in this action—vehicle owners or repair shops—further supporting the
  instant motion. See id.




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         Dr. Befurt’s remaining opinions derive from his own examination of materials produced

  in the case, rather than consumer surveys. But these opinions still rely extensively on third-

  party, excluded statements. See, e.g., id. ¶ 19 & Befurt Report Ex. 1 (Ex. 1) (referring to “Third

  Party Materials”). Dr. Befurt’s remaining opinions include the following:

             1) “Safelite’s dollar bill rule . . . has served as a critical component of Safelite’s
                marketing program, and has been prominently and consistently featured through a
                number of means across a range of various promotional media formats over the
                course of many years.” Doc. 133-1 ¶ 8.

             2) “Safelite’s use of the dollar bill rule is consistent with a strategy of attempting to
                both (1) convert potential Safelite repair customers into Safelite replacement
                customers, and (2) generally raise awareness and recall among car owners and
                users that windshield damage can be addressed through windshield repair, with
                certain limits that are communicated to consumers via the dollar bill rule. If these
                limits are not met, Safelite’s communications point out that windshield
                replacement is both available and necessary.” Id.

  Finally, Dr. Befurt’s conclusion that “Safelite’s promotional materials communicate a rule, rather

  than a Safelite policy” id. ¶ 10, is based on both his survey results and his own “review of the

  promotional materials.” Id.

         Defendants’ expert, Kent Van Liere, Ph.D, provided a report in response dated August

  12, 2018, refuting each and every survey and opinion offered by Dr. Befurt, with particular

  criticism levied at the design of Dr. Befurt’s surveys. In turn, Dr. Befurt provided a rebuttal

  report on September 25, 2018 (“Rebuttal Report”) (Ex. 2). In his Rebuttal Report, Dr. Befurt

  continued to rely, in part, on the same excluded statements cited in his first Report. Defendants

  deposed Dr. Befurt on October 25, 2018, and during his deposition, Dr. Befurt continued to rely

  upon and offer opinions pertaining to excluded, third-party statements. See generally Doc. 137-

  7.




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  III.   ARGUMENT

         The Court should exclude Dr. Befurt’s expert opinions and testimony because they rely

  heavily on statements this Court has already excluded from this matter—statements Safelite

  made in its role as a third-party claims administrator or that Safelite allegedly “ghostwrote” for

  insurance companies. Because these statements are not actionable against Safelite, Dr. Befurt’s

  opinions and testimony relying on them would only serve to mislead and confuse the trier of fact,

  suggesting that Safelite is responsible for every third-party statement related to the dollar bill rule

  when, in fact, as Plaintiffs themselves admit, the rule is used by virtually everyone in the

  industry and dates back to the 1970s. Doc. 1, Complaint ¶ 66. Additionally, given this Court’s

  holding that Safelite is not liable for excluded statements, Dr. Befurt’s opinions and testimony

  about such statements are irrelevant and will not help the trier of fact to understand the evidence

  or determine facts in issue in the case. Separately or in concert, these flaws require this Court to

  exclude Dr. Befurt’s misleading, confusing, and irrelevant opinions under the Federal Rules of

  Evidence and standards outlined in Daubert, 509 U.S. 579 (1993), and subsequent cases.

         A.      All of Dr. Befurt’s opinions rely in substantial part on excluded statements.

         The primary support for the majority of Dr. Befurt’s opinions is a set of three consumer

  surveys he designed and conducted. See Doc. 133-1 at 4–5, 50–52. Only one used a

  promotional message, or “stimulus,” that purported to be a Safelite communication. Id. ¶ 61.b

  (Stimuli Pair 2). The other two surveys used flyers that do not mention Safelite at all, but instead

  expressly state they are from Farmers Insurance Group and Farm Bureau Insurance, respectively.

  See id. ¶¶ 61.a, 61.c (Stimuli Pairs 1 and 3). It is indisputable that these third-party messages fit

  squarely within the excluded statements that the Court has dismissed as not actionable against

  Safelite. The Court expressly found that (1) “statements made in insurance company brochures

  and bulletins, even if drafted by Safelite, are [not] actionable against Safelite under the Lanham



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  Act”; and (2) “statements that Safelite allegedly ghostwrote for insurance companies are not

  commercial advertising or promotion actionable against Safelite under the Lanham Act.” Order

  at 9, 11. The two third-party materials used in the customer survey have no Safelite branding

  and do not purport to be from Safelite. See Doc. 133-1 ¶¶ 61.a, 61.c. Indeed, Dr. Befurt in his

  Report expressly describes the advertisement selected in Stimulus 1 as “Third-Party Materials.”

  See Ex. 1 (listing the Farmers Insurance Group advertisement from Stimuli Pair 1, SL0081019–

  020, Doc. 131-11, as “Third Party Materials”). These statements are not actionable.

         Dr. Befurt also relied on other excluded statements to support his opinions. Dr. Befurt

  used Exhibit 1 to his report to summarize and provide examples of the “at-issue false and

  misleading messages” he examined. See Doc. 133-1 ¶ 19 & Ex. 1. Exhibit 1, in turn, refers to a

  number of statements made in “Third Party Materials,” including a “Glass Bulletin” from

  insurance company Progressive and fliers from Farmers Insurance Group. See Ex. 1 (citing

  SL0084917-918, Doc. 131-8; SL0000227;2 SL0008035, Doc. 131-10; SL0005375-415;3

  SL0080962;4 SL0081019–020, Doc. 131-11; SL0080650–659, Doc. 131-3). Similarly, Dr.

  Befurt’s Rebuttal Report refers to statements in documents published by the companies

  ERIEGlass, Progressive, and Farmers. Ex. 2 at 39–40 (citing SL0008035, Doc. 131-10;

  SL0080962;4 SL0081019–020, Doc. 131-11). Dr. Befurt admitted numerous times in his



  2
    SL0000227 is identical to SL0000166-168, Doc. 131-2, in Appendix B to Defendants’ Motion
  for Summary Judgment. See Doc. 127-3. For reference SL0000227 is attached to the instant
  Motion as Exhibit 3.
  3
    SL0005375-415 is materially identical to SL0005294-333, Doc. 127-9, in Appendix A to
  Defendants’ Motion for Summary Judgment. See Doc. 127-2. For reference SL0005375-415 is
  attached to the instant Motion as Exhibit 4.
  4
    SL0080962 is identical to SL0080845-850, Doc. 131-1, in Appendix B to Defendants’ Motion
  for Summary Judgment. See Doc. 127-3. For reference SL0080962 is attached to the instant
  Motion as Exhibit 5.




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  deposition that the messages he analyzed included ones that were delivered via third-party

  insurers. See, e.g., Doc. 137-7 at 95:18–20 (discussing statements “addressed to consumer,

  whether this is via insurance agents or Safelite personnel”); id. at 112:17–113:1 (discussing how

  Safelite communicates “indirectly via other parties, including insurances”). Dr. Befurt also

  admitted that his studies did not consider the context in which a customer received the

  messages—for example whether the message was communicated in the context of an insurer-

  insured relationship. See id. at 134:4–141:25. Again, there is no question that these statements

  are of the type previously excluded by this Court.

         B.      Given his reliance on excluded statements, Dr. Befurt’s testimony should be
                 excluded because it risks confusing and misleading the factfinder and unfairly
                 prejudicing Safelite.

         Expert testimony, like any other evidence, may be excluded if its probative value is

  outweighed by the danger of confusing the issues, misleading the jury, or unfairly prejudicing a

  party. Fed. R. Evid. 403. Indeed, “Rule 702 provides more power than Rule 403 to exclude

  evidence where its dangers are balanced against benefits.” Charles Alan Wright, et al., 29 Fed.

  Prac. & Proc. Evid. § 6263 (2d ed.)); Fed. R. Evid. 702(a).

         This Court has exercised its power under Rule 702 to exclude expert testimony that

  substantially relied on facts that were not actionable under a plaintiff’s legal theories, reasoning

  that such testimony was likely to confuse and mislead the jury. Neely v. Miller Brewing

  Company, 246 F. Supp. 2d 866, 872–73 (S.D. Ohio 2003). In Neely, the plaintiff brought

  employment discrimination claims based on race and gender discrimination, but she abandoned

  her gender discrimination claim prior to trial. Id. at 867–68. Plaintiff’s expert opined that

  Plaintiff suffered post-traumatic stress disorder (PTSD) as a result of several events that occurred

  at work, including “being subjected to having her buttocks and breasts squeezed . . . by someone

  in authority.” Id. at 869. The District Court excluded the expert’s testimony pursuant to Rule



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  702 because her opinion was “clearly based . . . in substantial part, upon events that [were] not

  actionable.” Id. at 871–73. The Court reasoned that the expert’s opinion would “cause[] the jury

  to be confused and misled” because it assumed that the incidents of sex discrimination, which

  served as a basis for the PTSD diagnosis, were relevant to Plaintiff’s claims when, in fact, they

  were not. Id. at 873; see also id. at 871 (noting that the expert’s opinion about PTSD was based

  on four events, “only two of which will be in evidence”).

         Dr. Befurt’s opinions, like the expert’s opinions in Neely, are “clearly based . . . in

  substantial part, upon [statements] that are not actionable.” Id. at 872. And, like the expert in

  Neely, Dr. Befurt’s opinions and testimony should be excluded. Dr. Befurt’s opinion that

  “Safelite’s promotional materials communicate a rule, rather than a Safelite policy,” Doc. 133-1

  ¶ 10, is emblematic of the flaws in his approach. This opinion is based both on Dr. Befurt’s

  survey results and his own “review of the promotional materials.” Id. Both sources are heavily

  saturated with excluded statements that this Court has already held are not attributable to

  Safelite. And yet, from these third-party statements, Dr. Befurt draws the conclusion that

  consumers could not read a Safelite statement about the dollar bill rule as conveying Safelite’s

  policy. Id. That approach defies logic.

         Indeed, Dr. Befurt himself identifies this hole in his logic: He concludes that “consumers

  could not possibly interpret the promotional materials [that are issued by third parties] as a

  Safelite-specific policy [precisely] because Safelite’s brand or trademark does not appear in the

  promotional materials—even though Safelite may have prepared for the third party or supported

  a third party to prepare the materials.” Doc. 133-1 ¶ 33 (emphasis added); accord ¶¶ 37–38

  (citing materials from Farm Bureau Insurance of Idaho, Alfa Glass, and Farmers, and their lack

  of a Safelite brand or trademark, as evidence of Dr. Befurt’s conclusion that the promotional




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  materials “are . . . not interpretable as a Safelite-specific policy”). But of course consumers

  could not because these examples are not Safelite’s speech, as this Court has already found.

         The reasoning of Neely applies on all fours to the issue here. Dr. Befurt’s extensive

  reliance on excluded statements that are irrelevant to the legal issues in this case will suggest to

  the finder of fact that those excluded statements are properly actionable. This Court has held

  precisely the opposite. As a result, Dr. Befurt’s opinions and testimony will not “help the trier of

  fact to understand the evidence or to determine a fact in issue,” but only serve to confuse and

  mislead. Fed. R. Evid. 702(a); Fed. R. Evid. 403; 29 Fed. Prac. & Proc. Evid. § 6263.

         Dr. Befurt’s testimony should also be excluded because it is unfairly prejudicial to

  Safelite. If allowed to present his opinions, Dr. Befurt’s testimony will serve as a “back door”

  through which Plaintiffs will attempt to continue litigating rejected legal theories, putting

  statements this Court has dismissed in front of the trier of fact and attributing those statements to

  Safelite. The only way for Safelite to explain the flaws in Dr. Befurt’s analysis would be to

  further underscore the very statements that the Court has excluded. Doing so would be unfairly

  prejudicial to Safelite, creating the impression that Safelite is to blame for the insurance industry

  statements, when this Court has concluded precisely the opposite. Cf. Neely, 246 F. Supp. 2d at

  872–73 (rejecting this approach for similar reasons); see also United States v. Gallion, 257

  F.R.D. 141, 153–54 (E.D. Ky. 2009) (excluding defendant’s expert’s testimony as misleading

  pursuant to Rule 403 because the expert opined that defendants were entitled to rely in good faith

  on a judge’s order, but the judge’s order was based on inaccurate or incomplete disclosures made

  by defendants), aff’d sub nom. United States v. Cunningham, 679 F.3d 355 (6th Cir. 2012).

         These reasons alone mandate that Dr. Befurt be excluded. But there are additional

  reasons to exclude his opinions and testimony, as set forth below.




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          C.      Because Dr. Befurt relied on statements that are no longer actionable, his
                  testimony should be excluded as irrelevant as it does not “fit” the remaining
                  issues in the case.

          Expert testimony is admissible only if it will “help the trier of fact to understand the

  evidence or to determine a fact in issue.” Fed. R. Evid. 702(a). “This condition goes primarily

  to relevance. “‘Expert testimony which does not relate to any issue in the case is not relevant

  and, ergo, non-helpful.’” Daubert, 509 U.S. at 591 (quoting 3 Weinstein & Berger ¶ 702[02], p.

  702–18). One aspect of relevancy “is whether expert testimony proffered in the case is

  sufficiently tied to the facts of the case that it will aid the jury in resolving a factual dispute.” Id.

  (quoting United States v. Downing, 753 F.2d 1224, 1242 (3d Cir. 1985)). “The consideration has

  been aptly described . . . as one of ‘fit.’” Id. “‘Fit’ is not always obvious, and scientific validity

  for one purpose is not necessarily scientific validity for other, unrelated purposes.” Id.

          In order for the scientific testimony to “fit” the case, “there must be a connection between

  the scientific research or test result being offered and the disputed factual issues in the case . . . .”

  Pride v. BIC Corp., 218 F.3d 566, 578 (6th Cir. 2000) (emphasis added) (citing Daubert, 509

  U.S. at 592). “Clearly, expert testimony does not ‘help’ if it is unrelated to the facts at issue or is

  based on factual assumptions that are not supported by the evidence.” 29 Fed. Prac. & Proc.

  Evid. § 6265.2. Similarly, expert opinions that are “contrary to this Court’s rulings are

  irrelevant” and are appropriately excluded. Thomas & Marker Constr. Co. v. Wal-Mart Stores,

  Inc., 2008 WL 5119587, at *7 (S.D. Ohio Nov. 30, 2008). The party proffering the expert bears

  the burden to demonstrate, “by a ‘preponderance of proof,’ that the expert whose testimony is

  being offered . . . will assist the trier of fact in understanding and disposing of issues relevant to

  the case.” Pride, 218 F.3d at 578 (quoting Daubert, 509 U.S. at 592 n.10).

          Applying these principles, Courts routinely exclude expert testimony, even from

  credentialed experts, when the opinions offered do not “fit” the issues to be determined in the



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  case. For example, in Lees v. Carthage College, a college student sued her college for

  negligently failing to protect her after she was attacked and sexually assaulted by two unknown

  men in her dorm room. 714 F.3d 516, 518–19 (7th Cir. 2013). The Seventh Circuit affirmed the

  district court’s decision to exclude certain testimony from plaintiff’s premises-security expert,

  who offered (i) an opinion that the attack on plaintiff was foreseeable, and (ii) “an opinion as to

  what specific security measures would have been reasonable under the circumstances.” Id. at

  520, 526. In reaching his opinions, the expert analyzed the “history of sexual assault” at

  plaintiff’s college, including several instances of “acquaintance rape,” while the assault against

  plaintiff was a “stranger rape.” Id. at 518, 520. “The [district] court reasoned that a school

  would need to take different measures to prevent acquaintance rape than to prevent stranger

  rape,” and thus excluded aspects of the expert’s testimony that relied on analyses of acquaintance

  rape. Id. at 520. In other words, the facts on which the expert relied did not “fit” the case. The

  Seventh Circuit affirmed: “Relying on these crime statistics without accounting for this

  distinction does not reflect the application of reliable principles and data to the facts of this

  case.” Id. at 526. The Sixth Circuit has ruled similarly. See Decker v. GE Healthcare Inc., 770

  F.3d 378, 394 (6th Cir. 2014) (affirming exclusion of expert in product liability suit where expert

  relied on data that was not “relevant to [defendants’] ability to foresee the risk,” because the

  study in question post-dated the events that led to the lawsuit).5



  5
    See also, e.g., Lawrey v. Good Samaritan Hospital, 751 F.3d 947, 948–50, 953 (8th Cir. 2014)
  (affirming district court decision excluding expert in medical malpractice suit who was proffered
  to testify about prevalence of injuries similar to plaintiff’s that result from physician-applied
  traction during childbirth, where facts of the case indicated no traction was applied during
  plaintiff’s birth); Chavez v. Carranza, 559 F.3d 486, 498 (6th Cir. 2009) (affirming decision
  excluding as irrelevant expert opinions on “the purposes behind the Salvadoran Amnesty Law”
  where the court declined as a matter of law to grant comity to that law); Williamson Oil Co., Inc.
  v. Philip Morris USA, 346 F.3d 1287, 1323 (11th Cir. 2003) (affirming district court decision
  excluding expert’s testimony in antitrust class action alleging price fixing conspiracy where the



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          Expert opinions relying on consumer surveys—like the ones at issue in this case—also

  have been rejected when they do not “fit” relevant issues to be determined by the fact-finder. In

  Federal Trade Commission v. Ross, for example, the Fourth Circuit Court of Appeals affirmed a

  district court’s decision excluding a marketing expert’s opinions that “advertisements linkable to

  [defendant] were nondeceptive,’” because the Court had already entered summary judgment in

  favor of the FTC holding that the advertisements were deceptive. 743 F.3d 886, 893 (4th Cir.

  2014) (citing Fed. R. Evid. 401); see also Gibson Guitar Corp. v. Paul Reed Smith Guitars, LP,

  325 F. Supp. 2d 841, 850 (M.D. Tenn. 2004) (excluding expert’s opinions and testimony, based

  on “market research surveys,” because they “[did] not ‘fit’ the issue before the Court and [were]

  irrelevant” to the issues for trial).

          Like the expert testimony at issue in these cases, Dr. Befurt’s opinions and testimony are

  inadmissible because they do not “fit” the remaining issues to be determined by the finder of

  fact. Dr. Befurt’s consumer survey-based opinions are based primarily on statements that are

  “not . . . actionable against Safelite” under the Court’s prior opinions. Because the excluded

  statements are “not . . . actionable against Safelite,” opinions about how consumers interpret

  them are wholly irrelevant. Nor could surveys based on the excluded statements actually

  accomplish Dr. Befurt’s stated goals—to assess how respondents interpret Safelite’s promotional

  materials and the impact of Safelite’s messaging on consumer decision-making, see Doc. 133-1

  ¶ 9—because, as this Court has already held, excluded statements cannot be attributed to

  Safelite. Dr. Befurt’s surveys and his resultant opinions do not “fit” the issues in this case, which



  expert improperly defined illegal collusion and thus failed to differentiate between legal and
  illegal pricing behavior); Thomas & Marker, 2008 WL 5119587, at *7, 11–12 (excluding
  plaintiff’s expert’s opinions relying on a “soil borings report” that was irrelevant to the issues in
  the case; holding that opinions that were “contrary to this Court’s rulings are irrelevant and will
  be excluded”).




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  involves only Safelite’s own messaging. Like the experts’ opinions in Ross and Gibson Guitar,

  Dr. Befurt’s opinions relate only to legal theories that the Court has rejected as a matter of law.

  Similarly, like the experts in Lees and Decker, Dr. Befurt relied on irrelevant materials to support

  his conclusions, rendering those conclusions a poor fit for this case.

         Dr. Befurt’s remaining opinions (the ones that do not rely on consumer surveys) are

  similarly flawed. His opinions all rely on a fundamental assumption that is erroneous as a matter

  of law: that the excluded statements of third-parties are attributable to Safelite. That assumption

  permeates his analysis and each of his conclusions. Because that assumption is incorrect, like

  the expert opinions in Lees and Decker, Dr. Befurt’s opinions will not “assist” the judge or

  factfinder in “disposing of issues relevant to the case,” Fed. R. Evid. 702(a), and they should be

  excluded.

  IV.    CONCLUSION

         For the reasons discussed above, the Court should grant Defendants’ motion and exclude

  Dr. Befurt’s testimony.




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   Dated: August 30, 2019                  Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 30, 2019, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system, which will send notification of such filing to counsel

  for Plaintiffs




                                                    s/ Matthew A. Kairis
                                                    One of the Attorneys for Defendants
